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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION

 

UNITED STATES OF AMERICA, CR16-40109
Plaintiff, FACTUAL BASIS STATEMENT
vS.
ANTHONY VINCENT SOZZI,

Defendant.

 

The Defendant states that the following facts are true, and the parties
agree that they establish a factual basis for the offense to which the Defendant
is pleading guilty pursuant to Fed. R. Crim. P. 11(b)(3):

My name is Anthony Vincent Sozzi.

On August 3, 2016, I knowingly had possession of a firearm described as
a Smith &, Wesson, Model 59, 9mm semi-automatic pistol bearing serial
number A381795. The firearm was designed to expel a projectile by the action
of an explosive. It was loaded with eleven rounds of ammunition in the
magazine and one round in the chamber. l was carrying the firearm in the
lower pocket of the cargo-style pants I was wearing at the time. The firearm
was operable and included the frame and receiver while I had it in my

possession.

At the same time I was in possession of the firearm, I also knowingly

possessed several items associated with my drug use.

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I knew then, and I know now, that I am prohibited from possessing any
firearms because I have previously been convicted of one or more crimes
punishable by imprisonment exceeding one year.

I knew then, and I know now, that I am prohibited from possessing any
firearms because I am an illegal user of controlled substances

I know that the firearm was manufactured at a facility outside of South
Dakota and, thus, had traveled in interstate commerce before I possessed it.

My actions were in violation of 18 U.S.C. §§ 922(g)(1), 922(g)(3), and
924(a)(2).

The parties submit that the foregoing statement of facts is not intended
to be a complete description of the offense or the Defendant’s involvement in it.
Instead, the statement is offered for the limited purpose of satisfying the
requirements of Fed. R. Crim. P. 11(b)(3). The parties understand that
additional information relevant to sentencing may be developed and attributed

to the Defendant for sentencing purposes.

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Defendant

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J Kolbeck
Attorney for Defendant

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